                     CASE 0:24-cr-00072-PJS-LIB Doc. 9 Filed 03/15/24 Page 1 of 1

                                 IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MINNESOTA

                                        INITIAL APPEARANCE
UNITED STATES OF AMERICA,                        )            COURTROOM MINUTES - CRIMINAL
                                                 )           BEFORE: ELIZABETH COWAN WRIGHT
                        Plaintiff,               )                   U.S. Magistrate Judge
                                                 )
 v.                                              )     Case No:               24-cr-72 (PJS/LIB)
                                                 )     Date:                  March 15, 2024
Jerry Hal Saliterman,                            )     Courthouse:            St. Paul
                                                 )     Courtroom:              3C
                        Defendant.               )     Time Commenced:        3:36 p.m. / 3:51 p.m. / 4:40 p.m.
                                                 )     Time Concluded:        3:45 p.m. / 4:01 p.m. / 5:04 p.m.
                                                 )     Time in Court:         43 minutes

APPEARANCES:

 Plaintiff: David Classen/Thomas Calhoun-Lopez, Assistant U.S. Attorney
           Appearing on a limited basis on behalf of the District of North Dakota

 Defendant: John Brink
             X CJA


 Date Charges Filed: March 13, 2024                    Offense: theft of major artwork; witness tampering

         X Advised of Rights

on    X Indictment

X Personal Recognizance Bond set with conditions, see Order Setting Conditions of Release

Next appearance date is TBD before U.S. Magistrate Judge Leo I. Brisbois for:
     X Arraignment

X Government moves to unseal the case.        X Granted
X Government requests ECF No. 1 remain sealed - GRANTED
X Government is directed to file a motion by Monday, March 18, 2024 at 4:30 p.m. as to why ECF No. 1 is to
  remain sealed.

Additional Information:
X Oral Rule5(f) Brady notice read on the record.
Any address read in full in this hearing will be redacted from any transcript ordered.

                                                                                             s/nah
                                                                                         Signature of Courtroom Deputy
